1 F.3d 1251NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    William M. HALE, Claimant-Appellant,v.Jesse BROWN, Secretary of Veterans Affairs, Respondent-Appellee.
    No. 93-7025.
    United States Court of Appeals, Federal Circuit.
    April 15, 1993.
    
      Before RADER, Circuit Judge, BENNETT, Senior Circuit Judge, and SCHALL, Circuit Judge.
      ON MOTION
      RADER, Circuit Judge.
    
    ORDER
    
      1
      The Secretary of Veterans Affairs moves to waive Fed.Cir.R. 27(d) and to dismiss William M. Hale's appeal for lack of jurisdiction.  Hale moves for leave to file his opposition out of time and submits his opposition.
    
    
      2
      Hale seeks review of an order of the United States Court of Veterans Appeals dismissing his appeal for lack of jurisdiction because his notice of appeal was untimely and because he had not filed a notice of disagreement prior to November 18, 1988.  Hale challenges only factual determinations or the application of a law or regulation to his claim.  No issue is raised which falls within the limited jurisdiction of this court under 38 U.S.C. Secs. 7292(c), (d)(1)-(2) (Supp.  III 1991).  See Livingston v. Derwinski, 959 F.2d 224 (Fed.Cir.1992).
    
    
      3
      Accordingly,
    
    IT IS ORDERED THAT:
    
      4
      (1) The Secretary's motion to waive Fed.Cir.R. 27(d) is granted.
    
    
      5
      (2) The Secretary's motion to dismiss is granted.
    
    
      6
      (3) Hales' motion for leave to file his opposition out of time is granted.
    
    
      7
      (4) Each side shall bear its own costs.
    
    
      8
      (5) The revised official caption is reflected above.
    
    